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         EXHIBIT 144
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                                                                                     Page 1
                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                              SAN FRANCISCO DIVISION
           ___________________________
           RICHARD KADREY, et al.,                 )
                                                   )
                        Plaintiffs,                )
                                                   )
           vs.                                     )    No. 3:23-cv-03417-VC
                                                   )
           META PLATFORMS, INC.,                   )
                                                   )
                        Defendant.                 )
           ___________________________)


                 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


                  Video-recorded Deposition of MICHAEL
                  SINKINSON, PH.D., taken at Cooley LLP,
                  110 North Wacker Drive, Chicago, Illinois,
                  before Donna M. Kazaitis, IL-CSR, commencing
                  at 9:37 a.m. on Tuesday, March 4, 2025.



           _________________________________________________
                               DIGITAL EVIDENCE GROUP
                           1730 M Street, NW, Suite 812
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                                                                                    Page 76
   1                A.     Just to be clear, I didn't choose just

   2       an eight-week window.             I chose a one-week, a

   3       two-week, a three-week, a four-week.                       These are

   4       all cumulative.

   5                Q.     But do you go beyond eight weeks?

   6                A.     Not in this table, no.

   7                Q.     So why did you choose not to go beyond

   8       eight weeks in this table?

   9                A.     It seems like the point was made.

 10                 Q.     Could you elaborate on that?                     What do

 11        you mean by the point was made?

 12                 A.     Sure.       What I'm trying to say there is

 13        that the coefficient estimate is stable from five

 14        weeks to six weeks to seven weeks to eight weeks.

 15        There doesn't seem to be any trend.

 16                 Q.     Do you think that any impact that

 17        Llama 3 might have had on book sales would have

 18        been fully observable within just those eight

 19        weeks?

 20                 A.     It's possible there was an effect

 21        later.    But, again, per my earlier comments, if

 22        anything, this is showing that the books in Books3



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                                                                                   Page 77
   1       slightly improved in rank.               So this seemed

   2       sufficient.

   3               Q.      Sufficient how, Professor?

   4               A.      I felt very convinced from this.

   5               Q.      From just the eight weeks?

   6               A.      Again, given the coefficient is

   7       stable, yes.

   8               Q.      What do you mean by "the coefficient

   9       was stable"?

 10                A.      So what we're doing here is starting

 11        at a very narrow window after the Llama 3 launch,

 12        and we're adding more data in each column and

 13        looking for an impact on those books on their

 14        sales ranks.       As we add another week of data,

 15        notice that the point estimate and the confidence

 16        intervals are not moving, indicating that the

 17        story is not changing as we add more data.

 18                Q.      And where in this study do I see data

 19        about adoption or use of Llama 3?

 20                A.      I don't have access to that data.

 21                Q.      Did you ask for access to that data?

 22                A.      I may have.          I don't recall.            But I



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                                                                                  Page 257
   1       BY MR. STEIN:

   2               Q.      Did either of your reports look at the

   3       impact of piracy on book sales?

   4                       MR. MORTON:          Object to form.

   5                       THE WITNESS:          No.

   6       BY MR. STEIN:

   7               Q.      Did either of your reports look at the

   8       impact of the distribution aspect of torrenting on

   9       book sales?

 10                        MR. MORTON:          Object to form.

 11                        THE WITNESS:          No.

 12        BY MR. STEIN:

 13                Q.      Just to turn to your Curriculum Vitae

 14        for a second, please, Professor.

 15                A.      Sure.

 16                        MR. MORTON:          Could she come back in

 17        now if you're asking about his CV?

 18                        MR. STEIN:         Yes.

 19                        MR. MORTON:          Thank you.

 20                        MR. STEIN:         Thank you.          Sorry, I can't

 21        keep track of that issue.               I'm glad you are.

 22



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                                                                                  Page 291
   1               A.      Yes.

   2               Q.      And you understand him to take a

   3       different view on whether a market exists or does

   4       not exist; is that right?

   5               A.      Can you repeat the first part of that?

   6               Q.      You understand him to take a different

   7       view than you do about the existence of a market

   8       here?

   9               A.      Correct.

 10                Q.      Now, is this something about which

 11        reasonable minds or reasonable economists can

 12        disagree?

 13                        MR. MORTON:          Object to form.

 14                        THE WITNESS:          Is this something that

 15        reasonable minds could disagree about?

 16        BY MR. STEIN:

 17                Q.      Uh-huh.

 18                A.      I mean I've laid out my arguments for

 19        why I have the opinion that I have.

 20                            Are you asking me to kind of

 21        contrast with Professor Spulber?                   I don't

 22        understand the question.



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                                                                                  Page 331
   1       STATE OF ILLINOIS )
   2       COUNTY OF C O O K )
   3            I, Donna M. Kazaitis, IL-CSR No. 084-003145,
   4       do hereby certify:
   5            That the foregoing deposition of MICHAEL
           SINKINSON, PH.D., was taken before me at the time
   6       and place therein set forth, at which time the
           witness was put under oath by me;
   7            That the testimony of the witness and all
           objections made at the time of the examination
   8       were recorded stenographically by me, were
           thereafter transcribed under my direction and
   9       supervision and that the foregoing is a true
 10        record of same.
 11             I further certify that I am neither counsel
 12        for nor related to any party to said action, nor
 13        in any way interested in the outcome thereof.
 14             IN WITNESS WHEREOF, I have subscribed my name
 15        this 6th day of March, 2025.
 16
 17
 18
 19
 20                     _____________________________________
 21                     DONNA M. KAZAITIS, IL-CSR
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